          Case 2:20-cr-00322-ODW Document 51 Filed 08/12/21 Page 1 of 1 Page ID #:301
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                                     UNITED STATES DISTRICT COURT
                                    CENTRAL DISTRICT OF CALIFORNIA
United States of America,                                   CASE NUMBER:

                                                                              2:20-CR-00322-ODW
                                             PLAINTIFF(S)
                             v.
                                                                     NOTICE OF MANUAL FILING
Ramon Olorunwa Abbas,                                                      OR LODGING
                                           DEFENDANT(S).

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EX PARTE APPLICATION AND PROPOSED ORDER




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August 12, 2021                                               Khaldoun Shobaki
Date                                                          Attorney Name
                                                              United States of America
                                                              Party Represented


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